                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 20-03035-01-CR-S-RK
                                                   )
MARK NICHOLAS COBB,                                )
                                                   )
                          Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Indictment filed on June 9, 2020, is now Accepted and the Defendant is Adjudged

Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                         /s/ Roseann Ketchmark
                                                      ROSEANN KETCHMARK
                                                   UNITED STATES DISTRICT JUDGE




Date: July 7, 2021




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